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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                GigaMonster Networks, LLC

2.   All other names debtor
     used in the last 8 years     FDBA Amtech Inc.
     Include any assumed          FDBA Gigasphere International, LLC
     names, trade names and       FDBA Gigasphere, LLC
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  350 Franklin Gateway
                                  Suite 300
                                  Marietta, GA 30067
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Cobb                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.gigamonsternetworks.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    GigaMonster Networks, LLC                                                                Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5179

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                              Case number
                                                 District                                 When                              Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor    GigaMonster Networks, LLC                                                                     Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      See Rider 1 attached hereto                                  Relationship               Affiliate

                                                    District    Delaware                    When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                           50-99                                          5001-10,000                               50,001-100,000
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion


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Debtor   GigaMonster Networks, LLC                                                   Case number (if known)
         Name


16. Estimated liabilities    $0 - $50,000                             $1,000,001 - $10 million               $500,000,001 - $1 billion
                             $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                             $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                             $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




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Debtor    GigaMonster Networks, LLC                                                                Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      January 16, 2023
                                                  MM / DD / YYYY


                             X   /s/ Rian Branning                                                        Rian Branning
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Restructuring Officer




18. Signature of attorney    X   /s/ Laura Davis Jones                                                     Date January 16, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Laura Davis Jones
                                 Printed name

                                 Pachulski Stang Ziehl & Jones LLP
                                 Firm name

                                 919 North Market Street
                                 17th Floor
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     302-652-4100                  Email address      ljones@pszjlaw.com

                                 2436 DE
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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                                  Rider 1 to Voluntary Petition

On the date hereof, each of the affiliated entities listed below, including the debtor in this chapter
11 case (collectively, the “Debtors”), filed a petition in this Court for relief under chapter 11 of
title 11 of the United States Code.


1.      GigaMonster Networks, LLC

2.      Gigasphere Holdings LLC

3.      GigaMonster, LLC

4.      Fibersphere Communications LLC

5.      Fibersphere Communications of California LLC




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        ACTION BY WRITTEN CONSENT OF THE SOLE SERVING MEMBER
                    OF THE BOARD OF MANAGERS AND
        SOLE SERVING MEMBER OF THE RESTRUCTURING COMMITTEE


                                Effective as of January 16, 2023


                 Michael T. Sullivan (the “Independent Manager”), the sole serving member of
the Board of Managers and sole serving member of the Restructuring Committee of GigaSphere
Holdings LLC, a Delaware limited liability company (the “Company”), hereby adopts the
following resolutions by written consent pursuant to the Delaware General Corporation Law and
directs that this Action by Written Consent be filed in the records of the Company.

              WHEREAS, pursuant to Section 5.2(a)(iii) and 5.2(d) of that certain Second
Amended and Restated Limited Liability Company Agreement of the Company, dated as of
November 7, 2019, (as subsequently amended, the “Operating Agreement”), and by written
consent dated September 22, 2022 (the “September 22 Consent”), Michael T. Sullivan was (a)
appointed as a member of the Board of Managers of the Company by the agreement of the
Barings Managers (as defined in the Operating Agreement) and the CEO Manager (as defined in
the Operating Agreement) and (b) named as member of the Restructuring Committee for the
Company;

               WHEREAS, pursuant to the Operating Agreement and the September 22
Consent, the Restructuring Committee was delegated the authority to make any and all decisions
deemed necessary or advisable by the Restructuring Committee, in its sole discretion, in
connection with the potential restructuring of the Company and its subsidiaries, including,
without limitation, the authority to file a petition in bankruptcy for relief under any state or
federal insolvency laws;

               WHEREAS, pursuant to Section 5.1(d) of the Operating Agreement, the
Members of the Company holding a majority of all of the issued and outstanding Preferred Units
of the Company (the “Majority Interest”) have waived their right to consent to the resolutions
contained herein;

                WHEREAS, the Independent Manager has reviewed the historical performance
of the Company and its subsidiaries and the current and long-term liabilities of the Company and
its subsidiaries;

                 WHEREAS, the Independent Manager has reviewed the materials presented by
the management of and the advisors to the Company regarding the strategic alternatives available
to it, and the impact of the foregoing on the Company’s business and its stakeholders;

               NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the
Independent Manager, it is desirable and in the best interests of the Company, its creditors,
employees, stockholders and other stakeholders that a petition be filed by the Company and its
subsidiaries, GigaMonster Networks, LLC, a Delaware limited liability company, GigaMonster,



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LLC, a Florida limited liability company, Fibersphere Communications LLC, an Oregon limited
liability company, and Fibersphere Communications of California LLC, a California limited
liability company (collectively with the Company, the “Companies”) seeking relief under the
provisions of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”);

                RESOLVED, that the officers of the Companies, including their Chief
Restructuring Officer (each, an “Authorized Officer”) be, and each of them hereby is,
authorized, empowered and directed on behalf of the Companies to execute, verify and file all
petitions, schedules, lists, and other papers or documents, and to take and perform any and all
further actions and steps that any such Authorized Officer deems necessary, desirable and proper
in connection with the Companies’ chapter 11 case, with a view to the successful prosecution of
such case;

                RESOLVED, that the Authorized Officers be, and each of them hereby is,
authorized, empowered and directed on behalf of the Companies to retain the law firm of
Pachulski Stang Ziehl & Jones LLP (“PSZ&J”) as bankruptcy counsel to represent and assist
the Companies in carrying out its and their duties under chapter 11 of the Bankruptcy Code, and
to take any and all actions to advance the Companies’ rights in connection therewith, and the
Authorized Officers be, and each of them hereby is, authorized, empowered and directed to
execute appropriate retention agreements, pay appropriate retainers prior to and immediately
upon the filing of the bankruptcy, and to cause to be filed an appropriate application for authority
to retain the services of PSZ&J;

                RESOLVED, that the Authorized Officers be, and each of them hereby is,
authorized, empowered and directed on behalf of the Company to retain the services of Novo
Advisors LLC (“Novo”) as the Companies’ restructuring advisor and, in connection therewith, to
execute appropriate retention agreements, pay appropriate retainers prior to and immediately
upon the filing of the bankruptcy, and to cause to be filed an appropriate application for authority
to retain the services of Novo;

                RESOLVED, that the Authorized Officers be, and each of them hereby is,
authorized, empowered and directed on behalf of the Companies to retain the services of Bank
Street Group LLC (“Bank Street”) as the Companies’ investment banker and, in connection
therewith, to execute appropriate retention agreements, pay appropriate retainers prior to and
immediately upon the filing of the bankruptcy, and to cause to be filed an appropriate application
for authority to retain the services of Bank Street;

                RESOLVED, that the Authorized Officers be, and each of them hereby is,
authorized, empowered and directed on behalf of the Companies to employ any other
professionals necessary to assist the Companies in carrying out their duties under the Bankruptcy
Code and, in connection therewith, to execute appropriate retention agreements, pay appropriate
retainers prior to or immediately upon the filing of the chapter 11 case and cause to be filed
appropriate applications with the bankruptcy court for authority to retain the services of any
other professionals, as necessary, and on such terms as are deemed necessary, desirable and
proper;



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               RESOLVED, that the Authorized Officers be, and each of them hereby is,
authorized, empowered and directed on behalf of the Companies to obtain post-petition financing
according to terms which may be negotiated by the management of the Companies, including
under debtor-in-possession credit facilities or the use of cash collateral; and to enter into any
guaranties and to pledge and grant liens on its assets as may be contemplated by or required
under the terms of such post-petition financing or cash collateral agreement and, in connection
therewith, to execute appropriate loan agreements, cash collateral agreements and related
ancillary documents;

                 RESOLVED, that in the judgment of the Independent Manager, it is desirable
and in the best interests of the Companies that the Companies sell substantially all of their assets
and, therefore, the Companies are each hereby authorized to enter into an asset purchase
agreement to effectuate such sale on such terms that management determines will maximize
value, and the Companies are further authorized to file a motion to approve such sale and for any
related relief, or to approve a sale to a higher and better bidder, and to close such sale, subject to
bankruptcy court approval in the Company’s and its subsidiaries’ chapter 11 proceedings;

                RESOLVED, that the Authorized Officers be, and each of them hereby is,
authorized, empowered and directed on behalf of the Companies to take any and all actions, to
execute, deliver, certify, file and/or record and perform any and all documents, agreements,
instruments, motions, affidavits, applications for approvals or rulings of governmental or
regulatory authorities or certificates and to take any and all actions and steps deemed by any such
Authorized Officer to be necessary or desirable to carry out the purpose and intent of each of the
foregoing resolutions and to effectuate a successful chapter 11 case, including, but not limited to
the development, filing and prosecution to confirmation of a chapter 11 plan and related
disclosure statement; and

               RESOLVED, that any and all actions heretofore taken by any Authorized Officer
of the Companies in the name and on behalf of any Company in furtherance of the purpose and
intent of any or all of the foregoing resolutions be, and hereby are, ratified, confirmed, and
approved in all respects.




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             IN WITNESS WHEREOF, the undersigned have executed this Action by
Written Consent as of the date first written above.

                   INDEPENDENT MANAGER:


                 ��
                   Michael T. Sullivan,
                   in his capacity as the sole serving member of
                   the Board of Managers and the sole serving
                   member of the Restructuring Committee




 [SIGNATURE PAGE TO ACTION BY WRITTEN CONSENT OF THE SOLE SERVING
  MEMBER OF THE BOARD OF MANAGERS AND THE SOLE SERVING MEMBER
    OF THE RESTRUCTURING COMMITTEE OF GIGASPHERE HOLDINGS LLCJ


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        OMNIBUS WRITTEN CONSENT OF THE SOLE MEMBER OF EACH OF:

                          GIGAMONSTER NETWORKS, LLC
                              GIGAMONSTER, LLC
                       FIBERSPHERE COMMUNICATIONS LLC
                FIBERSPHERE COMMUNICATIONS OF CALIFORNIA LLC

                                 Effective as of January 16, 2023


               Each of the undersigned, being (as indicated on the signature page hereof) the sole
member (a “Sole Member”) of: (i) GigaMonster Networks, LLC, a Delaware limited liability
company; (ii) GigaMonster, LLC, a Florida limited liability company; (iii) Fibersphere
Communications LLC, an Oregon limited liability company; and/or (iv) Fibersphere
Communication of California, LLC, a California limited liability company (each individually a
“Company” and together, the “Companies”), pursuant to laws of the Companies’ respective
states of organization and the applicable governing documents of each of the Companies, does
hereby consent to the adoption of the resolutions set forth below with the same force and effect
as though adopted at a meeting duly called and held for the purpose of acting upon proposals to
adopt such resolutions, and direct that this Omnibus Written Consent be filed in the records of
each Company.

              WHEREAS, the Sole Member has reviewed the historical performance and the
current and long-term liabilities of each Company of which it is the sole Member (any such
Company, a “Relevant Company”);

               WHEREAS, the Sole Member has reviewed the materials presented by the
management of and the advisors to each of its Relevant Companies regarding the strategic
alternatives available to them, and the impact of the foregoing on the business and stakeholders
of each of such Relevant Companies;

             NOW, THEREFORE, BE IT RESOLVED, that in the judgment of each of the
Sole Members, it is desirable and in the best interests of its Relevant Companies, their creditors,
employees, stockholders and other stakeholders, that a petition be filed by the Relevant
Company seeking relief under the provisions of chapter 11 of title 11 of the United States Code
(the “Bankruptcy Code”);

              RESOLVED, that the officers of each Relevant Company (each with respect to
such Relevant Company of which he or she is an officer, an “Authorized Officer”) be, and each
of them hereby is, authorized, empowered and directed on behalf of each of their Relevant
Companies to execute, verify and file all petitions, schedules, lists, and other papers or
documents, and to take and perform any and all further actions and steps that any such
Authorized Officer deems necessary, desirable and proper in connection with the chapter 11 case
of such Relevant Company, with a view to the successful prosecution of such cases;

              RESOLVED, that the Authorized Officers be, and each of them hereby is,
authorized, empowered and directed on behalf of their respective Relevant Companies to retain


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the law firm of Pachulski Stang Ziehl & Jones LLP (“PSZ&J”) as bankruptcy counsel to
represent and assist each such Relevant Company in carrying out its duties under chapter 11 of
the Bankruptcy Code, and to take any and all actions to advance each of such Relevant
Company’s rights in connection therewith, and to execute appropriate retention agreements, pay
appropriate retainers prior to and immediately upon the filing of the bankruptcy, and to cause to
be filed an appropriate application for authority to retain the services of PSZ&J;

                RESOLVED, that the Authorized Officers be, and each of them hereby is,
authorized, empowered and directed on behalf of their respective Relevant Companies to retain
the services of Novo Advisors LLC (“Novo”) as restructuring advisor, and in connection
therewith, to execute appropriate retention agreements, pay appropriate retainers prior to and
immediately upon the filing of the bankruptcy, and to cause to be filed an appropriate application
for authority to retain the services of Novo;

               RESOLVED, that the Authorized Officers be, and each of them hereby is,
authorized, empowered and directed on behalf of their respective Relevant Companies to retain
the services of Bank Street Group LLC (“Bank Street”) as each such Relevant Company’s
investment banker and, in connection therewith, to execute appropriate retention agreements, pay
appropriate retainers prior to and immediately upon the filing of the bankruptcy, and to cause to
be filed an appropriate application for authority to retain the services of Bank Street;

               RESOLVED, that the Authorized Officers be, and each of them hereby is,
authorized, empowered and directed on behalf of their respective Relevant Companies to employ
any other professionals necessary to assist each such Relevant Company in carrying out its duties
under the Bankruptcy Code and, in connection therewith, to execute appropriate retention
agreements, pay appropriate retainers prior to or immediately upon the filing of the chapter 11
cases and cause to be filed appropriate applications with the bankruptcy court for authority to
retain the services of any other professionals, as necessary, and on such terms as are deemed
necessary, desirable and proper;

                RESOLVED, that the Authorized Officers be, and each of them hereby is,
authorized, empowered and directed on behalf of their respective Relevant Companies to obtain
post-petition financing according to terms which may be negotiated by the management of each
such Relevant Company, including under debtor-in-possession credit facilities or the use of cash
collateral, and to enter into any guaranties and to pledge and grant liens on its assets as may be
contemplated by or required under the terms of such post-petition financing or cash collateral
agreement and, in connection therewith, to execute appropriate loan agreements, cash collateral
agreements and related ancillary documents;

               RESOLVED, that in the judgment of each of the Sole Members, it is desirable
and in the best interests of their respective Relevant Companies that each such Relevant
Company sell substantially all of its assets and, therefore, each such Relevant Company is hereby
authorized to enter into an asset purchase agreement to effectuate such sale on such terms that
management determines will maximize value, and each such Relevant Company is further
authorized to file a motion to approve such sale and for any related relief, or to approve a sale to
a higher and better bidder, and to close such sale, subject to bankruptcy court approval in such
Relevant Company’s chapter 11 proceedings;


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               RESOLVED, that the Authorized Officers be, and each of them hereby is,
authorized, empowered and directed on behalf of their respective Relevant Companies to take
any and all actions, to execute, deliver, certify, file, and/or record and perform any and all
documents, agreements, instruments, motions, affidavits, applications for approvals or rulings of
governmental or regulatory authorities or certificates and to take any and all actions and steps
deemed by any such Authorized Officer to be necessary or desirable to carry out the purpose and
intent of each of the foregoing resolutions and to effectuate successful chapter 11 cases,
including, but not limited to the development, filing and prosecution to confirmation of a
chapter 11 plan and related disclosure statement; and

              RESOLVED, that any and all actions heretofore taken by any Authorized Officer
in the name or on behalf of any of their respective Relevant Companies in furtherance of the
purpose and intent of any or all of the foregoing resolutions be, and hereby are, ratified,
confirmed, and approved in all respects.




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   Fill in this information to identify the case:

   Debtor name    GIGAMONSTER NETWORKS, LLC
   United States Bankruptcy Court for the District of Delaware
                                                                 (State)
                                                                                                                                              Check if this is an
   Case number (If known):
                                                                                                                                              amended filing




 Official Form 204
 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
 Unsecured Claims and Are Not Insiders (on a Consolidated Basis)                                                                                            12/15

 A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
 disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured
 creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured
 claims.


  Name of creditor and complete                Name, telephone number, and Nature of the claim   Indicate if     Amount of unsecured claim
  mailing address, including zip code          email address of creditor   (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               contact                     debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                           professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                           services, and         or disputed     setoff to calculate unsecured claim.
                                                                           government
                                                                           contracts)
                                                                                                                 Total claim, if    Deduction for        Unsecured claim
                                                                                                                 partially          value of
                                                                                                                 secured            collateral or
                                                                                                                                    setoff
1. Zayo Group, LLC                           Britt Bischoff          Vendor                                                                                $446,723.96
   PO Box 952136                             Tel: 847.514.4220
   Dallas, TX 75395‐2136                     Britt.bischoff@zayo.com
2. Raisecom                    Keith Zalenski         Trade Debt                                                                                           $290,794.70
   7850 Ulmerton Road Suite 7A Tel: 214.738.6493
   Largo, FL 33771             kzalenski@rasiecom.com
3. AT&T                        Brent Armstrong                                Vendor                                                                       $281,962.76
   PO Box 5019                 Tel: 404.218.5407
   Carol Stream, IL 60197‐5019 BA4553@att.com
4. Equinix Inc.                              Carrie Payne                     Vendor                                                                       $148,803.82
   4252 Solutions Center                     Tel: 650.598.6173
   Chicago, IL 60677‐4002                    capayne@equinix.com
5. Mastec Advanced                           Andrea Mayer           Trade Debt                                                                             $144,851.21
   Technologies                              Tel: 518.406.7120
   806 S. Douglas Road 10th                  andrea.mayer@mastec.co
   Floor                                     m
   Coral Gables, FL 33134
6. Cogent Communications, Inc.               Kelli Raviele                    Vendor                                                                       $141,700.18
   P.O. Box 791087                           Tel: 404.215.3221
   Baltimore, MD 21279‐1087                  kraviele@cogentco.com
7. Spectrum Enterprise         Crystal Delarosa          Vendor                                                                                            $138,550.40
   PO Box 223085               Tel: 210.510.3712
   Pittsburgh, PA 15251‐2085   crystal.delarosa1@charter
                               .com
8. Level 3 Communications, LLC Tyler Zecker              Vendor                                                                                              $91,918.80
   P.O. Box 910182             Tel: 404.526.4480
   Denver, CO 80291‐0182       tyler.Zecker@lumen.com
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   Debtor       GIGAMONSTER NETWORKS, LLC                                                   Case number (if known)
                Name




   Name of creditor and complete          Name, telephone number, and Nature of the claim   Indicate if      Amount of unsecured claim
   mailing address, including zip code    email address of creditor   (for example, trade   claim is         If the claim is fully unsecured, fill in only unsecured
                                          contact                     debts, bank loans,    contingent,      claim amount. If claim is partially secured, fill in total
                                                                      professional          unliquidated,    claim amount and deduction for value of collateral or
                                                                      services, and         or disputed      setoff to calculate unsecured claim.
                                                                      government
                                                                      contracts)
                                                                                                             Total claim, if    Deduction for        Unsecured claim
                                                                                                             partially          value of
                                                                                                             secured            collateral or
                                                                                                                                setoff

9. Securematics               Nancy Stratton             Trade Debt                                                                                      $87,180.20
   P.O. Box 742202            Tel: 408.649.7992
   Los Angeles, CA 90074‐2202 nancy.stratton@securem
                              atics.com
10.Crown Castle Fiber LLC     Ivana Cardona              Vendor                                                                                          $67,553.38
   PO Box 21926               Tel: 786.701.7308
   New York, NY 10087‐1926    ivana.cardona@crowncas
                              tle.com
11.Perfect 10                 Andrea Anderson            Trade Debt                                                                                      $62,960.69
   PO Box 841444              Tel: 800.205.8620 ex 3109
   Dallas, TX 75284‐1444      andrea.anderson@perfect
                              ‐vision.com
12.FiberLight LLC             Lisa Ledwith               Vendor                                                                                          $54,324.82
   PO Box 602526              Tel: 678.573.6567
   Charlotte, NC 28260‐2526   lisa.ledwith@fiberlight.co
                              m
13.Regions Bank               Mark Rohs                  Trade Debt                                                                                      $53,348.24
   6343 Rosewll Road NE       Tel: 404.268.8697
   Atlanta, GA 30328          Mark.rohs@regions.com
14.Comcast Business                Oliver Velasquez         Vendor                                                                                       $52,392.63
   P.O. Box 37601                  Tel: 610.226.2149
   Philadelphia, PA 19101‐0601 Oliver_Velasquez@comca
                                   st.com
15.TELX ‐ Atlanta (Digital Realty) Adia Salas               Vendor                                                                                       $36,830.91
   P.O. Box 419729                 Tel: 415.825.0749
   Boston, MA 02241‐9729           asalas@digitalrealty.com
16.CenturyLink                           Tyler Zecker           Vendor                                                                                   $34,097.28
   PO Box 91155                          Tel: 404.526.4480
   Seattle, WA 98111‐2348                tyler.Zecker@lumen.com
17.Winncom Technologies Corp. Ausra Gajdos         Vendor                                                                                                $31,940.14
   PO Box 536658              Tel: 440.519.2983
   Pittsburg, PA 15253‐5908   a.gajdos@winncom.com
18.Broadriver Communication              William Dearing        Vendor                                                                                   $31,268.72
   1000 Hemphill Ave., NW                Tel: 901.554.5845
   Atlanta, Ga 30318                     wdearing@calltower.com
19.Stalbird Properties LLC               Matt Stalbird            Trade Debt                                                                             $31,218.79
   14851 State Road 52                   Tel: 813.310.2703
   Suite 107‐201                         matt@stalbirdproperties.
   Hudson, FL 34669                      com

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                                Case 23-10051-JKS               Doc 1      Filed 01/16/23              Page 17 of 22
  Debtor       GIGAMONSTER NETWORKS, LLC                                                   Case number (if known)
               Name




  Name of creditor and complete          Name, telephone number, and Nature of the claim   Indicate if      Amount of unsecured claim
  mailing address, including zip code    email address of creditor   (for example, trade   claim is         If the claim is fully unsecured, fill in only unsecured
                                         contact                     debts, bank loans,    contingent,      claim amount. If claim is partially secured, fill in total
                                                                     professional          unliquidated,    claim amount and deduction for value of collateral or
                                                                     services, and         or disputed      setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                            Total claim, if    Deduction for        Unsecured claim
                                                                                                            partially          value of
                                                                                                            secured            collateral or
                                                                                                                               setoff

20.LTS Managed Technical                Michelle Melson          Trade Debt                                                                             $30,382.02
   Services LLC                         Tel: 406.300.6197
   6405 Mira Mesa Boulevard             michelle.nelson@ledcor.c
   Suite 200                            om
   San Diego, CA 92121
21.Cologix, Inc                         Summer May             Vendor                                                                                   $27,894.42
   PO BOX 732353                        Tel: 720.940.2558
   DALLAS, TX 75373‐2353                summer.s.may@cologix.c
                                        om
22.Portland NAP                         kris@pittock.com       Vendor                                                                                   $25,500.00
   921 SW Washington Suite
   100
   Portland, OR 97205
23.CoreSite L.P.              Erin Connolly             Trade Debt                                                                                      $25,214.05
   PO Box 74338               Tel: 303.405.1009
   1001 17th Street           Erina.connolly@coresite.c
   Denver, CO 80202           om
24.Wave Wholesale             Trish McGowan             Trade Debt                                                                                      $25,017.48
   PO Box 31001‐2714          Tel: 844.910.8519
   Pasadena, CA 91110‐2714    Trish.mcgowan@wavebro
                              adband.com
25.Ziply Fiber                Linda Larson              Trade Debt                                                                                      $24,108.41
   PO Box 740407              Tel: 503.629.5181
   Cincinnati, OH b45274‐0407 Linda.larson@ziply.com
26.Teksystems Global Services,          Vernon Jones           Trade Debt                                                                               $24,000.00
   LLC                                  Tel: 410.540.3039
   7437 Race Road                       vejones@teksystems.com
   Hanover, MD 21076
27.BDO                                  Paul Lundy                   Professional                                                                       $21,498.50
   P.O. Box 642743                      Tel: 404.942.2910            Services
   Pittsburgh, PA 15264‐2743            plundy@bdo.com
28.Enterprise Fleet Mgmt                Rachel Moss             Trade Debt                                                                              $21,231.37
   Customer Billing                     Tel: 314.274.4415
   PO Box 800089                        Rachel.moss@efleets.com
   Kansas City, MO 64180‐0089
29.Graybar Electric Company,            Kathy Lewis             Vendor                                                                                  $20,144.52
   Inc.                                 Tel: 678.291.5133
   2050 Nancy Hanks Drive               kathy.lewis@graybar.com
   Norcross, GA 30074


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                                Case 23-10051-JKS              Doc 1       Filed 01/16/23             Page 18 of 22
  Debtor       GIGAMONSTER NETWORKS, LLC                                                  Case number (if known)
               Name




  Name of creditor and complete         Name, telephone number, and Nature of the claim   Indicate if      Amount of unsecured claim
  mailing address, including zip code   email address of creditor   (for example, trade   claim is         If the claim is fully unsecured, fill in only unsecured
                                        contact                     debts, bank loans,    contingent,      claim amount. If claim is partially secured, fill in total
                                                                    professional          unliquidated,    claim amount and deduction for value of collateral or
                                                                    services, and         or disputed      setoff to calculate unsecured claim.
                                                                    government
                                                                    contracts)
                                                                                                           Total claim, if    Deduction for        Unsecured claim
                                                                                                           partially          value of
                                                                                                           secured            collateral or
                                                                                                                              setoff

30.Marsh USA Inc.              Erick Cooper           Trade Debt                                                                                       $19,423.07
   1166 Avenue of the Americas Tel: 404.502.9526
   New York, NY 10036          erick.cooper@marsh.com




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                             Chapter 11

GIGAMONSTER NETWORKS, LLC                          Case No. 23-_____ (___)

                               Debtor.


                    CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)


                Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges
to evaluate possible disqualification or recusal, the undersigned authorized officer of the above-
captioned Debtor, certifies that the following is a corporation other than the Debtor, or a
governmental unit, that directly or indirectly owns 10% or more of any class of the corporation’s
equity interests, or states that there are no entities to report under FRBP 7007.1.


None [check if applicable]

          Name:             Gigasphere Holdings LLC
          Address:          350 Franklin Gateway, Suite 300
                            Marietta, GA 30067




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                               Chapter 11

GIGAMONSTER NETWORKS, LLC                            Case No. 23-_____ (___)

                               Debtor.


                              LIST OF EQUITY SECURITY HOLDERS


Following is the list of the Debtor’s equity security holders which is prepared in accordance with rule
1007(a)(3) for filing in this Chapter 11 Case:



              Equity Holder                      Address of Equity Holder            Percentage of
                                                                                     Equity Held
                                           350 Franklin Gateway, Suite 300
Gigasphere Holdings LLC                                                                   100%
                                           Marietta, GA 30067




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                    Chapter 11

GIGAMONSTER NETWORKS, LLC                                 Case No. 23-_____ (___)

                                  Debtor.


                            CERTIFICATION OF CREDITOR MATRIX


         Pursuant to Rule 1007-2 of the Local Rules of Bankruptcy Practice and Procedure for the
United States Bankruptcy Court for the District of Delaware, the above captioned debtor and its
affiliated debtors in possession (collectively, the “Debtors”)1 hereby certify that the Creditor
Matrix submitted herewith contains the names and addresses of the Debtors’ creditors. To the
best of the Debtors’ knowledge, the Creditor Matrix is complete, correct, and consistent with the
Debtors’ books and records.

       The information contained herein is based upon a review of the Debtors’ books and
records as of the petition date. However, no comprehensive legal and/or factual investigations
with regard to possible defenses to any claims set forth in the Creditor Matrix have been
completed. Therefore, the listing does not, and should not, be deemed to constitute: (1) a waiver
of any defense to any listed claims; (2) an acknowledgement of the allowability of any listed
claims; and/or (3) a waiver of any other right or legal position of the Debtors.




1
    The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are:
    GigaMonster Networks, LLC (2854); Gigasphere Holdings LLC (0250); GigaMonster, LLC (3014); Fibersphere
    Communications LLC (0163); and Fibersphere Communications of California LLC (5088). The Debtors’ business
    address is 350 Franklin Gateway, Suite 300, Marietta, GA 30067.

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                              Case 23-10051-JKS                   Doc 1        Filed 01/16/23           Page 22 of 22




Fill in this information to identify the case:

Debtor name         GigaMonster Networks, LLC

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

              Other document that requires a declaration       Corporate Ownership Statement, List of Equity Holders, Creditor Matrix
                                                                Verification

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       January 16, 2023                X /s/ Rian Branning
                                                           Signature of individual signing on behalf of debtor

                                                            Rian Branning
                                                            Printed name

                                                            Chief Restructuring Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
